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October 6, 2015
Hon. Leda D. Wettre
United States District Court
Martin Luther King Jr. Federal Courthouse
50 Walnut Street
Newark, New Jersey 07102
via PACER and by fax to 973-645~3535

Re: NVE lnc. v. Palmeroni
Civil Action No. 06-5455

Dear Judge Wettre:

The above action is scheduled for a telephone conference at
4:00 p.m. this afternoon. l will be participating (hands free)
on my cell phone as l drive to West Orange.

l have calendar difficulties which will probably impact the
scheduling order l expect Your Honor will impose. l write to
Your Honor in the hope that these difficulties can be reconciled
with the docketing needs of this case.

l have a seven day trial in Union County with four adversa-
ries which is scheduled to begin on November Zd; superimposed on
that is an Appellate Division argument on November 3d. l also
have two Superior Court motions on October 23d - one in Hacken-

sack and the other in Toms River.

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Hon. Leda D. Wettre -2- October 6, 2015

My major concern is with the case of MSKP Oak Grove, LLC v.
Venuto, Civil Action No. 10-6465. My response to a Daubert mo-
tion is due on October lSm. My adversary does not want to de~
pose my expert until after my opposition is filed. The deadline
for completion of expert depositions is October 29w, and we have
no mutually free dates. Plaintiff’s portion of the final pretri-
al order is due on October 23d, and the complete final pretrial
order is due on November Gm. l am writing to Judge Schneider
for an extension of time, but l am not optimistic.

Res ectfully submitted,

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AAVK t;
Robert A. Vort
RAV:hap
cc: Aidan O’Connor, Esg.
Robert Basil, Esg.

Mr. Jesus J. Palmeroni
ll-127

